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November 18, 2024

Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York
                    Re:      The New York Times Company v. Microsoft Corporation, et al., 23-cv-
                             11195; Daily News, L P, et al. v. Microsoft Corp., et al., 1:24-cv-3285; The
                             Center for Investigative Reporting, Inc. v. OpenAI, Inc., 1:24-cv-04872:
                             Dispute Regarding Early Deposition on Microsoft’s Log Data
Dear Magistrate Judge Wang:

        I write on behalf of Plaintiffs Daily News, LP et al., The New York Times Company, and
The Center for Investigative Reporting, Inc. (collectively the “News Plaintiffs”). We ask that you
compel Microsoft to provide a witness for a 30(b)(6) deposition prior to December 20, 2024, on
the topic of Microsoft’s log data reflecting user sessions and associated output logs. This 30(b)(6)
deposition should take place without prejudice to the News Plaintiffs taking a subsequent 30(b)(6)
deposition at a later point in discovery on additional topics. The purpose of this early 30(b)(6)
deposition is to streamline discovery on issues important to the News Plaintiffs’ case, as explained
further below.

         On November 1, 2024, the parties submitted a joint letter at the direction of the Court about
their efforts to arrange an early 30(b)(6) custodial deposition. See generally Dkt. 306.1 The request
in this motion does not override the News Plaintiffs’ request in that letter for other deposition
topics, but overlaps in substance with topics 15 and 16 in Exhibit 1 attached to that letter, which
specifically deal with log issues:

                   15. The existence, organization, preservation, storage, and deletion of
           output data reflecting user sessions on Your Generative AI Products and Services,
           as well as of reports on, metrics on, or analysis of such output data.

                  16. The meaning of data fields contained in sample output logs produced by
           Microsoft at MSFT_NEWS_000624874, MSFT_NEWS_000624875, and
           MSFT_NEWS_000624876, as well as of data fields contained in other output logs
           maintained by Defendants.

Dkt. 306-1 at 2.

        In the joint letter, Microsoft said that a deposition on the log issues is “not a ‘custodial’
deposition” and “will happen in due course, but there is no reason to upend the normal case
schedule and rush into it now.” Dkt. 306 at 3. More recently, Microsoft has refused to provide a
witness by the interim fact discovery cutoff of December 20, 2024. Ex. A. But the News Plaintiffs
respectfully submit that now is precisely the right time for such a deposition so that the parties
may streamline discovery into issues that are important to the News Plaintiffs’ case.


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    All docket references herein are to case no. 23-cv-11195.
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         On May 22, 2024, and June 14, 2024, the News Plaintiffs first served requests for
inspection pursuant to Fed. R. Civ. P. 34 on Microsoft (and OpenAI) in order to ascertain
Defendants’ unauthorized use of the News Plaintiffs’ copyrighted content through their artificial
intelligence systems. Exs. B-E. This use includes, inter alia, Defendants copying the News
Plaintiffs’ content as part of their training datasets (ingestion), encoding of the News Plaintiffs’
content within the parameters of the large language models themselves through training
(digestion), copying the News Plaintiffs’ content to perform retrieval-augmented generation
(“RAG”), and including the News Plaintiffs’ content in generative output to end-users because of
model “memorization” or RAG capabilities (regurgitation). Discovery into some of these technical
issues is not amenable to traditional document production mechanisms because of the volume of
data at issue and/or the need for specialized computing resources that are solely in the Defendants’
possession.

        The parties have been negotiating the News Plaintiffs’ requests for months, and have made
some progress navigating these technical areas of discovery—but not without many, many
disputes.2 Microsoft produced “sample” log data and documentation to the News Plaintiffs just
before the October 30 status conference reflecting the fields of data that it maintains for its Bing
Chat product.3 This data, including the generative output provided to end-users, not only serves as
evidence of copyright infringement, but also informs the damages and fair use analysis as to
whether Defendants’ products are competing as substitutes for the News Plaintiffs’ copyrighted
works.

        Because of the opacity of the sample log data, and Microsoft’s representations that the log
data is extremely voluminous and burdensome to search, the News Plaintiffs have asked for an
early 30(b)(6) deposition on issues pertaining to the log data before the December 20, 2024, interim
fact discovery cutoff—without prejudice to a subsequent 30(b)(6) deposition. Microsoft has taken
the position that it does not know what the deposition would be about. But the News Plaintiffs
have told Microsoft that “the purpose of the deposition is to identify what documents (or data)
Microsoft has or can create in order to show which of the News Plaintiffs’ works have been used
to create output from Microsoft’s GAI products, what content has been outputted, how many times
that has occurred, and in response to what queries—along with the specifics of how to search
Microsoft’s logs for that information.” Ex. A at 1. This early deposition will allow the News
Plaintiffs to more efficiently conduct discovery.


November 18, 2024                                              Respectfully submitted,

                                                               /s/ Ian Crosby
                                                               Ian B. Crosby

2
  The parties have outstanding disputes with respect to the News Plaintiffs’ inspection of OpenAI’s training data
(Dkt. 305) and inspection of the models (Dkt. 250 at 4-6).
3
  OpenAI produced log data for a ChatGPT session with Browse on November 13, 2024, which the News Plaintiffs
are still reviewing. News Plaintiffs, however, submit that a similar 30(b)(6) deposition directed to OpenAI may also
significantly streamline discovery for the same reasons stated herein.

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                                                Sussman Godfrey L.L.P.

                                                /s/ Steven Lieberman
                                                Steven Lieberman
                                                Rothwell, Figg, Ernst & Manbeck

                                                /s/ Matt Topic
                                                Matt Topic
                                                Loevy & Loevy

cc:   All Counsel of Record (via ECF)




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